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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, JARRETT
 LOFTON, REV. CLEE EARNEST LOWE, DR.
 ALICE WASHINGTON, STEVEN HARRIS,
 ALEXIS CALHOUN, BLACK VOTERS
 MATTER CAPACITY BUILDING
 INSTITUTE, and THE LOUISIANA STATE
 CONFERENCE OF THE NAACP,


                              Plaintiffs,

                                                      Civil Action No. 3:22-cv-00178
 v.                                                   SDD-SDJ



 R. KYLE ARDOIN, in his official capacity as
 Secretary of State of Louisiana,


                              Defendant.



          PLAINTIFFS’ OPPOSITION TO INTERVENOR-DEFENDANT’S
      MOTION FOR CONTINUANCE OF THE NOVEMBER 27, 2023 TRIAL DATE

       Plaintiffs, Dr. Dorothy Nairne, Jarrett Lofton, Rev. Clee Earnest Lowe, Dr. Alice

Washington, Steven Harris, Alexis Calhoun, Black Voters Matter Capacity Building Institute, and

the Louisiana State Conference of the NAACP, by and through undersigned counsel, respectfully

submit this Opposition to Intervenor-Defendant’s Motion for Continuance of the November 27,

2023 Trial Date. (ECF No. 112) filed by the Intervenor-Defendant, the State of Louisiana (the

“State”). Granting the State’s motion would be unduly prejudicial to Plaintiffs and Defendant has

failed to show good cause for such a change.
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       To prevail on a motion to modify the trial schedule, the State must show that, among other

factors, it has good reason for its inability to comply with the existing scheduling order and the

modification will not prejudice the other parties. Squyres v. Heico Companies, L.L.C., 782 F.3d

224, 237 (5th Cir. 2015) (outlining the good cause factors applicable to a motion to modify a

scheduling order). The State has failed to satisfy either of these factors.

       First, the state has not demonstrated a sufficient reason that it cannot meet the existing trial

schedule. As an initial matter, the State voluntarily intervened both in this matter and in Robinson

v. Ardoin. When seeking to intervene in these matters, the State represented to this Court that their

“intervention will not unduly delay or prejudice the adjudication of the rights of the original

parties.” ECF No. 33, at 13 (April 19, 2022); see also Robinson v. Ardoin, Case No.: 3:22-CV-

00211-SDD-RLB, (April 13, 2022), ECF No. 30, at 10. The State now argues the opposite: that it

is unable to dedicate resources to pursue both the instant matter and the remedial proceeding that

this Court ordered in Robinson/Galmon, Case. Nos. 3:22-cv-211 and 3:22-cv-214. Continuing the

trial scheduled here would unduly delay the adjudication of Plaintiffs’ claims. And given that the

State voluntarily chose to participate in these cases, the State’s concerns about limited resources

are burdens of its own creation that this Court should afford little weight.

       The State has also failed to explain why they lack sufficient resources to pursue both the

instant litigation here and Robinson on the schedules issued by this Court. The State of Louisiana

is represented in this matter by both the Office of the Attorney General (the “AG”) and by outside

counsel from Holtzman Vogel Baran Torchinsky & Josefiak PLLC. See ECF Nos. 56, 57, 58, 60

(June 30, 2022) (motions by outside counsel to appear pro hac and order granting pro hac). Indeed,




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eight different attorneys have entered appearances in this matter on behalf of the State alone.1 With

those significant resources on hand, the State is unquestionably able to adhere to this Court’s

schedule as is. Plaintiffs have been diligently working along with Defense counsel to meet all of

the Court’s deadlines.

       Defendant also claims that the upcoming elections will limit the availability of some

witnesses who are legislators to respond to discovery because they are running for elected office

in the fall elections. The AG and the State’s outside counsel do not represent these individuals and

they fail to explain how the difficulty of these witnesses to respond to discovery impacts the State’s

ability to comply with the existing schedule. Even if the State were somehow impacted by the

availability of these witnesses, trial in this matter is set for November 27, 2023, which is after all

the primary and general elections will have concluded. With respect to discovery, Plaintiffs are

willing to accommodate the campaign schedules of the witnesses to ensure discovery can be

completed consistent with deadlines in the current Scheduling Order.

       None of the current proceedings should come as a surprise to Defendant. All these cases

have been pending for well over a year, giving all parties plenty of time to work on litigation

preparations. The State was aware that the Supreme Court would most likely issue an opinion in

Allen v. Milligan, 143 S. Ct. 1487 (2023) by the end of the Supreme Court term in June 2023, and

that once an opinion was issued, the stays in these matters would be likely be lifted and these cases




       1
         As this Court is aware, there are three (3) different Defendant groups that have appeared
in the instant litigation: the State, the Louisiana Secretary of State (the “Secretary”), and the
President of the Louisiana Senate and Secretary of the Louisiana House of Representatives (the
“Legislative Intervenors” and, collectively with the State and the Secretary, the “Defendants”).
While each of these Defendant groups is represented by separate counsel, the Defendants have
been coordinating work whenever possible, further lessening the load placed on the State.


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would return to active litigation.2 The State was also aware that time is of the essence in these

matters, so the expeditated schedules should come as no surprise. And as the Voting Rights Act

vote dilution standard in Thornburg v. Gingles, 478 U.S. 30 (1986) has remained unchanged, there

is no need to revisit the substantial discovery that has already been completed. In reflection of that

reality and the pressing need to address Plaintiffs’ claims, this Court issued a schedule that was

similar to the prior schedule. Defendant’s dissatisfaction with that schedule, without more, is

insufficient to change it. The State has failed to show that it has good reason for its alleged inability

to comply with the existing schedule.

        Second, the State inaccurately asserts that there would be no prejudice to either Party. See

ECF No. 112-1 at 4. This is clearly not correct given the concerns about timeliness created by

Purcell v. Gonzalez, 549 U.S. 1 (2006). As the Court has acknowledged, there must be a decision

on the merits of Plaintiffs’ Voting Rights Act claims in time to allow this Court to consider relief

in the form of a special election in November 2024, and for any appeals to be exhausted. In this

latest motion, Defendant does not even address the issues created by Purcell. 3 Delaying the trial

would threaten the potential for relief in 2024, significantly prejudicing Plaintiffs. Given its failure

to address the substantial prejudice a change in the trial date and pre-trial schedule would pose to

Plaintiffs, the State has failed to show good cause for its request to modify the trial schedule.




        2
         Moreover, it was foreseeable that the Robinson v. Ardoin, Case No.: 3:22-CV-00211-
SDD-RLB, matter might move forward quickly with remedial proceedings as soon as the Supreme
Court lifted the stay in that matter. It was in remedial proceedings at the time that the Supreme
Court granted the stay, after the Fifth Circuit denied Defendants’ request for a stay. See Robinson
v. Ardoin, Case No. 22-30333, Order, ECF No. 89-1, June 12, 2022.
        3
         It is worth noting that in none of the several motions filed by all the Defendants about the
schedule have they even attempted to provide any explanation for why postponing the trial in this
matter to sometime in 2024 would not create Purcell issues in advance of a potential November
2024 special election.


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       The State has repeatedly been heard on this issue, and its instant motion is frivolous and a

waste of both this Court’s time and the parties’ resources. This Court has held two scheduling

conferences in this matter, and the Defendants have already filed a joint motion for a continuance

of the November 27 trial date that is pending before this Court. This latest motion represents the

fifth attempt by Defendants to delay the schedule and Plaintiffs’ pursuit of justice. (See ECF Nos.

92, 99, 101 and 107). As Plaintiffs have continually explained, and as this Court has credited

through issuance of the existing scheduling order, the operative schedule best ensures that the

fundamental right to vote is protected and avoids the risk that Purcell concerns will require

Plaintiffs and similarly situated voters to live with unlawful districts for years.

       For the foregoing reasons, the Court should deny Intervenor-Defendant State of

Louisiana’s Motion for Continuance of the November 27, 2023 Trial Date, and allow this matter

to proceed with trial in on November 27, 2023 as currently set.


Date: July 26, 2023                                    Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I certify that on July 26, 2023 this document was filed electronically on the Court’s

electronic case filing system. Notice of the filing will be served on all counsel of record through

the Court’s system.

                                                             /s/ Sarah Brannon




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